Case 4:18-cv-02869 Document 163-1 Filed on 07/24/20 in TXSD Page 1 of 2

EXHIBIT
Case 4:18-cv-02869 Document 163-1 Filed on 07/24/20 in TXSD Page 2 of 2

 

From: Elson Larry (CIV)
Te: Jennifer. bechorshlactalaw.com
Subject: FW: New vac John Hancock ile Insurance Company vs, The Estete of Jennifer Lauran Wheatlay: Case No.
4:18-qv-02: *
Date: Wednasday, August 29, 2018 1:05:00 PM
Attachments: Htiulation. 19970922, Por
Annulty_ L988 200, PDE
Iawef02.an9
Jennifer,

Good speaking with you today. Attached are our coples of the settlement stipulation and arinuity

contract,

if you find a copy of the Court’s original order of approval of the settlement, please provide.
l expect to be in touch soon regarding how the U.S, may proceed,

sf

hawrenee Ciser

Sentor Trial Counsel

United States Department of Justice
Civil Division, Torts Branch
Federal Tort Claims Act Section
ICON, Room P1-LT1e

175 N Street, MVE,

Washington, IC 20002
202-676-4260

202-616-5200 (fax)

F-Mail: Larry. Bisenai SOO) Goy

i

WARNING:

LIMITED OFFICIAL USE. ONLY
CONT 4 jp is 4 TTO y. 4 fi “e
WORK PRODUCT PRIVILEGED INFORMATION
The information contained in this message, und any und all aceompans ing documents, cunslitutes sensidve
information protected by the attney-clent privilege ancdéar the work product plivilege and is intended only for the
tukdressce(s). ‘The Information Is the property of the U.S, Depurtment of dustive, [you are noc the imendud recipient

al this information, any diselosure, copying, distribution or the
strivily peohibited, Hyou receive this messuge ii error, pluase

Joha Hancock - 0004

lakiig of any action in reliance on this inlbemation ts
mMtily (he sender immediately al the above number,
